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                                                                    U.S. DEPARTMENT OF JUSTICE

                                                                    United States Attorney
                                                                    Eastern District of Missouri

Derek J. Wiseman                                                       Thomas F. Eagleton U.S. Courthouse      Direct: (314) 539-7616
Assistant United States Attorney                                       111 South 10th Street, Rm. 20.333       Office: (314) 539-2200
                                                                       St. Louis, Missouri 63102                 Fax: (314) 539-2312


                                                                               March 11, 2025

           SENT VIA FEDEX

           Scott Taggart Roethle
           7819 W. 158th Court
           Overland Park, KS 66223

                      Re:          United States v. Scott Taggart Roethle
                                   Criminal No. 4:21-cr-00465-CDP

           Defendant Roethle:

                    Enclosed please find courtesy copies of several trial exhibits along with business declarations for
           the following items of evidence:

                      (1)          Qlarant Medicare Part D records;
                      (2)          CoventBridge Medicare Part B and DME records;
                      (3)          Wisconsin Physician Services Medicare application records;
                      (4)          Microsoft email records;
                      (5)          Bank of America records for Defendant Roethle’s bank accounts;
                      (6)          Regions Bank records for Integrity Medical’s bank accounts;
                      (7)          Dropbox records;
                      (8)          DocuSign records;
                      (9)          Bothwell Regional Medical Center records;
                      (10)         Anesthesia Associates of Kansas City (“AAKC”) records;
                      (11)         Children’s Mercy Kansas City records;
                      (12)         Lifetime Fitness records;
                      (13)         Brian’s Gym records;
                      (14)         BlueCloud records;
                      (15)         Sprint cellular telephone records for Defendant Roethle’s cellphone;
                      (16)         Socket Telecom internet protocol subscriber records;
                      (17)         Lumen Technologies internet protocol subscriber records; and
                      (18)         Charter Communications internet protocol subscriber records.

                   With this letter, we are once again providing notice of our intent to introduce the above-referenced
           records as self-authenticating business records under Federal Rules of Evidence 803(6) and 902(11). Please
           let me know if you have any objections.


                                                                       Sincerely,

                                                                       SAYLER A. FLEMING
                                                                       United States Attorney
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                                          DEREK J. WISEMAN
                                          Assistant United States Attorney
